 B6D (Official Form 6D) (12/07)


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  In re         Carl R. Durham,                                                                                           Case No.     2:11-bk-31945
                Terese M. Durham
                                                                                                             ,
                                                                                             Debtors
                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H       DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxxxxxxxxx3705                                  Opened 4/01/07 Last Active 11/11/09                          E
                                                              Deed of Trust (Second)                                       D
                                                              Real estate located at 17251 N 61st Ave,
BSI Financial                                                 Glendale AZ 85308
P.O. Box 517                                                  Mortgage 1: PNC Mortgage
Titusville, PA 16354                                          Mortgage 2: BSI Financial
                                                            H Debtors intend to retain
                                                              Value based on Zillow
                                                                Value $                            176,900.00                           186,000.00                 15,500.00
Account No. xxxxxxxxx6393                                     Opened 5/01/03 Last Active 9/02/10
                                                              Deed of Trust (First)
                                                              Real estate located at 17251 N 61st Ave,
PNC MORTGAGE                                                  Glendale AZ 85308
3232 NEMARK DR                                                Mortgage 1: PNC Mortgage
MIAMISBURG, OH 45342                                          Mortgage 2: BSI Financial
                                                            C Debtors intend to retain
                                                              Value based on Zillow
                                                                Value $                            176,900.00                           146,404.47                        0.00
Account No. xxxx7594                                          Opened 11/01/05 Last Active 3/03/10
                                                              Lien on vehicle
                                                              2006 Volkswagen Jetta with 108,620
SST/JPMC                                                      miles
4315 PICKETT RD                                               Lienholder:SST/JPMC
                                                              Debtors intend to retain
ST JOSEPH, MO 64503
                                                            H Value based on Kelley Blue Book in fair
                                                              condition. Needs new brakes, hail

                                                                Value $                                5,585.00                           10,775.51                 5,190.51
Account No. xH990                                             2009
                                                              Lien on vehicle
Sunhaven Financial                                            2008 Loan Runner (Trailer)
116 N. Roosevelt                                              Lienholder: Sunhaven Financial, Inc.
                                                              Debtors intend to retain
Suite 112
                                                            C Value based on Debtors best estimate
Chandler, AZ 85226                                            Damage to front of trailer
                                                                Value $                                3,000.00                            3,000.00                       0.00
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                      346,179.98                 20,690.51
                                                                                                          (Total of this page)
                                                                                                                     Total              346,179.98                 20,690.51
                                                                                           (Report on Summary of Schedules)
              Case 2:11-bk-31945-SSC                            Doc 15 Filed 12/22/11 Entered 12/22/11 10:44:41
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                                                                 Main Document    Page 1 of 1
